         Case 1:21-cr-00692-CKK Document 72 Filed 11/07/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-CR-692 (CKK)
                                             :
THOMAS FASSELL,                              :
MARILYN FASSELL                              :
                                             :
                      Defendant.             :


                               NOTICE OF FILING OF VIDEO
                          PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby notifies the Court of the submission of video exhibits in support

of sentencing in the above-captioned matter. As video clips, they are not in a format that readily

permits electronic filing on CM/ECF. Video exhibits have been submitted to the Court and made

available to defense counsel via the government’s file-sharing site, USAfx. Each exhibit is

identified and briefly described below. Unless otherwise noted, the video footage was recorded by

Marilyn Fassell using Thomas Fassell’s phone.

   •   Exhibit 1: Video recording of crowd on West Front of Capitol

   •   Exhibit 2: Video recording of officers on top of steps leading to the Northwest Terrace

   •   Exhibit 3: Video recording showing reaction to tear gas

   •   Exhibit 4: Video recording of Marilyn Fassell encouraging crowd forward

   •   Exhibit 5: Video recording at top of steps to Upper West Terrace

   •   Exhibit 6: Surveillance footage showing Fassells’ entry through Senate Wing Doors

   •   Exhibit 7: Video recording of entry into Crypt

   •   Exhibit 8: Surveillance footage showing Fassells in Pelosi Office Suite


                                                 2
          Case 1:21-cr-00692-CKK Document 72 Filed 11/07/22 Page 2 of 2




   •   Exhibit 9: Video recording from inside Senator Jeff Merkley’s hideaway office

   •   Exhibit 10: Video recording of Fassells exiting Capitol

   •   Exhibit 11: Video recording outside after exiting Capitol

       If the Court accepts these proposed video exhibits into evidence, the United States takes

the position that the entered exhibit should be released to the public.


                                                      Respectfully submitted,


                                                      MATTHEW M. GRAVES
                                                      United States Attorney
                                                      D.C. Bar No. 481052


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